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  5   Jerome J. Blum State Bar #100317                              Central District of California
                                                                    BY gasparia DEPUTY CLERK
  6    Attorneys for Creditor
  7                                                          CHANGES MADE BY COURT
  8
                                   UNITED STATES BANKRUPTCY COURT
  9
                                    CENTRAL DISTRICT OF CALIFORNIA
 10

 11    In re:                                        )     BK CASE NO. 1:10-bk-16174-MT
                                                     )
 12    FLORENCE JACQUELYN TOMASI;                    )     ADV. NO. 10-AP-1446-MT
       WILLIAM STEPHEN TOMASI                        )     Ch. 7
 13
                                                     )
 14                            Debtors.              )     ORDER GRANTING SUMMARY
                                                     )     ADJUDICATION
 15    THE SAVANNAH N. DENOCE TRUST                  )
                                                     )
 16
                                                     )
 17                            Plaintiff,            )
                 vs.                                 )
 18                                                  )
       WILLIAM STEPHEN TOMASI, aka                   )
 19
       WILLIAM S. TOMASI; WILLIAM S.                 )
 20    TOMASI ESQ; LAW OFFICES OF                    )
       WILLIAM S. TOMASI; FLORENCE                   )
 21    JACQUELYN TOMASI aka JACQUI                   )
       GRASSO TOMASI; and DOES 1 - 1000,             )
 22
                                                     )
 23                            Defendants.           )

 24

 25             The Court having considered Plaintiff THE SAVANNAH N. DENOCE TRUST’s
 26
      Motion for Summary Adjudication, hereby finds that good cause exists to grant Plaintiff’s
 27
      Motion, in part. Therefore,
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                                                                                         ORDER
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  2          IT IS HEREBY ORDERED THAT:
  3
      1.     Plaintiff THE SAVANNAH N. DENOCE TRUST’s Motion for Summary Adjudication
  4
      against Debtor WILLIAM STEPHEN TOMASI on Plaintiff’s §523(a)(4) claim is granted for
  5
      the reasons set forth in the Court’s Memorandum on Plaintiff’s Motion for Summary Judgment,
  6

  7   entered on July 10, 2012 as docket no. 54.

  8   2.     Plaintiff THE SAVANNAH N. DENOCE TRUST’s Motion for Summary Adjudication
  9
      against Debtor WILLIAM STEPHEN TOMASI on Plaintiff’s §523(a)(2) claim is denied.
 10
       3.    That the debt owing from WILLIAM STEPHEN TOMASI to The Savannah N.
 11

 12    DeNoce Trust as embodied in LASC Case No BC392034 is determined exempted from

 13    discharge and from injunction with respect to the community property interests of WILLIAM
 14
       STEPHEN TOMASI and his spouse, Debtor FLORENCE JACQUELYN TOMASSI, in
 15
       accordance with the provisions of 11 USC § 523(a)(4) and/or § 524(b).
 16
      4.      Plaintiff’s damages, as awarded in Los Angeles County Superior Court Case No.
 17

 18   BC392034 are determined to constitute a debt that is not dischargeable in bankruptcy.

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 27 DATED: July 20, 2012
                                             United States Bankruptcy Judge
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                                                                                     ORDER
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  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 15760 Ventura Blvd., Suite 2024, Encino, CA 91436

  4   A true and correct copy of the foregoing document entitled (specify): ORDER GRANTING SUMMARY
      ADJUDICATION will be served or was served (a) on the judge in chambers in the form and manner
  5   required by LBR 5005-2(d); and (b) in the manner stated below:

  6   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On 7/16/12, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  8   receive NEF transmission at the email addresses stated below:

  9   David R Hagen (TR) drh@forbankruptcy.com, dhagen@ecf.epiqsystems.com
      Creighton A Stephens casesq@verizon.net
 10   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

 11
                                                                 Service information continued on attached page
 12
      II. SERVED BY UNITED STATES MAIL:
 13   On (date) July 16, 2012, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 14   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 15   document is filed.

 16   Hon. Maureen A. Tighe
      United States Bankruptcy Court
 17   21041 Burbank Blvd.
      Woodland Hills, CA 91367
 18

 19   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 20

 21

 22

 23     July 16, 2012    RENA HILL                                          /s/ RENA HILL
       Date                     Printed Name                                Signature
 24

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                                                                                                ORDER
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  1
                     NOTICE OF ENTERED ORDER AND SERVICE LIST
  2

  3   Notice is given by the court that a judgment or order entitled (specify): SCHEDULING ORDER
      was entered on the date indicated as AEntered@ on the first page of this judgment or order and will be
  4   served in the manner stated below:
  5
      I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) B Pursuant to controlling
  6   General Orders and LBRs, the foregoing document was served on the following persons by the court via
      NEF and hyperlink to the judgment or order. As of July 16, 2012, the following persons are currently on
  7   the Electronic Mail Notice List for this bankruptcy case or adversary proceeding to receive NEF
      transmission at the email addresses stated below.
  8
      David R Hagen (TR) drh@forbankruptcy.com, dhagen@ecf.epiqsystems.com
  9   Creighton A Stephens casesq@verizon.net
      United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 10

 11                                                             Service information continued on attached page
 12   II. SERVED BY THE COURT VIA UNITED STATES MAIL: A copy of this notice and a true copy of this
      judgment or order was sent by United States mail, first class, postage prepaid, to the following persons
 13   and/or entities at the addresses indicated below:
 14   Hon. Maureen A. Tighe
      United States Bankruptcy Court
 15   21041 Burbank Blvd.
      Woodland Hills, CA 91367
 16

 17
                                                                Service information continued on attached page
 18
      III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment
 19   or order which bears an AEntered@ stamp, the party lodging the judgment or order will serve a complete
      copy bearing an AEntered@ stamp by United States mail, overnight mail, facsimile transmission or email
 20   and file a proof of service of the entered order on the following persons and/or entities at the addresses,
      facsimile transmission numbers, and/or email addresses stated below:
 21

 22

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 24                                                             Service information continued on attached page

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                                                                                               ORDER
                                                           4
